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Chad T. Van Horn
330 N. Andrews Ave, Suite 450
Fort Lauderdale, Florida 33301

Re: Client:     Cynthia Ortiz
    Case No:    20-13368
    Vehicle:    2019 Honda Civic 19XFC2F6XKE026608

Dear Chad T. Van Horn:

Your client, referenced above, has been pre-approved for a Redemption Loan (or settlement directly
with the creditor) for the vehicle indicated. This approval is based on information taken in good faith and
subject to the lending conditions described below.

You may file the Motion to Redeem (or negotiate directly with the creditor) for any amount up to the
maximum approval amount of $16,425.00. This amount will secure a savings for your client versus a
full balance reaffirmation. Savings based on documented retail values in conjunction with Section
506(a)(2) will be included with the approval packet to follow.

An additional amount for your reasonable attorney fee could, per your client's request, be borrowed from
Prizm Financial Company, LLC by your client for the additional legal services of obtaining a
redemption order.

Regular lending conditions include verification of the application information provided by your client.
These include, but are not limited to, the following: rate of pay, length of employment, staying current on
residential mortgages, and proof of insurance. We also limit this commitment to 90 days. This approval
is set to expire on 07/14/2020.

The Loan Requires:

Do not hesitate to call with any questions. Our House Counsel will be pleased to assist in any way
necessary. Additionally, sample forms and other important information may be obtained at our website
www.722Redemption.com.

                                                      Sincerely,
                                                      /S/ Sharon Monroe

                                                      Sharon Monroe
                                                      Senior Loan Specialist
                                                      (888) 721-2800 EXT. 6215
                                                      smonroe@722redemption.com



  Phone (513) 721-2800 Fax (513) 721-2822 3600 Park 42, Suite 150A, Cincinnati, OH 45241
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                             Cynthia Ortiz                                                Filed 06/15/20                      Page 2 of 11
 LOAN DISCLOSURE, NOTE AND
 SECURITY AGREEMENT                            220 W 64 street                                                                   722 Redemption Funding, Inc.
                                               Hialeah, Florida 33012                                                            3700B Park 42 Dr., Suite 150A
                                                                                                                                        Cincinnati, Ohio 45241
 Account No:
 Loan Amount: $17,344.75                                         Name / Address of Borrower(s)

 Loan Date:                                                 “You” and “Your” refer to each Borrower                     “We”, “us” and “our” refer to the Lender
                                                                  above, jointly and severally.
                                                                                                                          above, its successors and assigns.

Federal Truth-In-Lending Disclosure:

 ANNUAL PERCENTAGE RATE                 FINANCE CHARGE - The dollar                 AMOUNT FINANCED - The                       TOTAL OF PAYMENTS - The
 (APR) - The cost of your credit as     amount the credit will cost you.            amount of the credit provided to            amount you will have paid after you
 a yearly rate.                                                                     you or on your behalf.                      have made all payments as
                                                                                                                                scheduled.
              21.013%                              $12,665.76                                         $17,334.75                           $30,000.51

                          Number of Payments:            Amount of Payments:                          When Payments are Due:
 Your Payment
 Schedule will be:                                                                                    On the ______ day of each month beginning
                                      69                            $434.79                           ____/_____/_____

  Security:           You are giving a security interest in your automobile or mobile home specifically described below.
  Late Charge:        You will be charged five percent (5.0%) of the full amount of a scheduled payment or $15.00, which ever is greater, as a late
                      charge on any installment not paid in full within ten (10) days after its due date.
  Prepayment:         If you pay off this loan early, you will not have to pay an early payment penalty.
  Note Document: See your contract documents for any additional information about nonpayment, default, any required repayment in full before
                 the scheduled date, and prepayment refunds and penalties.

Collateral Description:
      Year                   Make                                   Model                                       Color                      Serial Number
     2019                   Honda                                   Civic                                                           19XFC2F6XKE026608

PROMISE TO PAY: You, jointly and severally, promise to pay
to our order the amount equal to the PRINCIPAL AMOUNT OF                                     ITEMIZATION OF AMOUNT FINANCED
LOAN listed as Item (J) under ITEMIZATION OF AMOUNT
FINANCED plus interest on such unpaid balance at the                            Amounts disbursed on your behalf:
CONTRACT          RATE     OF     INTEREST       specified    under               Attorney Fee Escrow Account:           $700.00                                (A)
ITEMIZATION OF AMOUNT FINANCED. The actual Finance
Charge will be computed on unpaid principal balances                             Captial One                             $16,425.00                             (B)
outstanding from time to time, for the time outstanding (in                                                                                                     (C)
accordance with section 1321.57(C)(1)(a) of Ohio Revised Code),
together with such other charges as permitted under O.R.C.                      Appraisal Fee to:
1321.57 and agreed to in this Loan Disclosure, Note, and Security                 Collateral Valuation Services                                 $0.00           (D)
Agreement.
    The payment amount of each installment specified above was                  Single Interest Insurance Premium to:
calculated utilizing the Contract Rate of Interest and Principal                  Valley National Insurance                                     $135.00         (E)
Amount of Loan using a regular amortization schedule for the
term of this loan. The Contract Rate of Interest and the Annual                 Service Contract to:
Percentage Rate may not be equal as a result of the classification                                                                              N/A             (F)
as finance charges under Regulation Z of the federal Truth-in-                  Lien recording costs, etc.                                      $74.75          (G)
Lending Act of certain charges that would not be so classified
under O.R.C. 1321.51 to 1321.60. Similarly, the Amount Financed                 Loan origination charge*                                        $0.00           (H)
may not be equal to the Principal Amount of Loan as a result of                 Credit investigation charge*                                    $10.00          (I)
such classifications.
COLLATERAL: To secure repayment of this loan, you grant                         PRINICIPAL AMOUNT OF LOAN
to us a security interest in: 1) the motor vehicle/personal                         (Sum of A through I)                                        $17,344.75      (J)
property listed above, complete with attachments, accessories
and equipment including all additions and accessions thereto,                   Prepaid finance charges                                         $10.00          (K)
replacements and substitutions thereof, whether in whole or in                  AMOUNT FINANCED (J minus K)                                     $17,334.75      (L)
part and whenever acquired, and 2) all proceeds, from insurance                 *Payable to 722 Redemption Funding, Inc.
or otherwise, arising from any disposition thereof (said security
interest hereinafter called "Collateral"). Collateral is intended to                 CONTRACT RATE OF INTEREST                                  20.99%
secure payment of the indebtedness described above, together
with delinquency charges as provided and, in the event of default,
amounts actually expended for costs and disbursements incurred                PREPAYMENT: You may prepay this loan in whole or in part at any time. If you
in legal proceedings to collect the loan or to realize on any                 prepay in part, you must still make each later payment in the original amount as
security, to the extent permitted by applicable law.                          it becomes due until this note is paid in full.
FINANCE CHARGE: The Finance Charge consists of interest,                      LENDER’S SINGLE INTEREST INSURANCE, if written in connection with this
origination and credit investigation charges. The Finance Charge              loan, may be obtained from any person of your choice that is acceptable to us.
disclosed above is computed on outstanding unpaid principal                   If you desire that this insurance be obtained through us, the cost is set forth in
balances on the basis that installments shall have been paid                  the ITEMIZATION OF AMOUNT FINANCED.
according to contract. Delinquency will increase the Finance                  DEFAULT CHARGES AND RETURNED CHECK FEES: We may collect a
Charge as the contract rate is computed on actual unpaid                      default charge (also known as a “Late Charge”). The amount of the Late
balances of amount financed for the actual time outstanding.                  Charge shall be in accordance with the block indicated above for each full
APPLICABLE LAW: The laws of the State of Ohio will govern this                month that any installment is outstanding after the due date of such installment
note and any agreement securing this note. The federal Truth-In-              scheduled by the contract. We may collect a Late Charge for one full month for
Lending disclosures on the front page hereof are disclosures only             any installment that is past due more than ten (10) days. We may also charge
and are not intended to be terms of this agreement unless                     and receive check collection charges not greater than twenty dollars ($20.00)
expressly referred thereto herein. The fact that any part of this             plus any amount passed on from other financial institutions for each check,
note cannot be enforced will not affect the rest of this note. Any            negotiable order of withdrawal, share draft, or other negotiable instrument
change to this note or any agreement securing this note must be               returned or dishonored for any reason. Late Charges and returned check fees
in writing and signed by you and us.                                          may be collected at the time they accrue or any time thereafter.

                                                                                                                   (Continued on back)
                                                       POWER OF ATTORNEY
To facilitate your grant of a security interest in the Collateral, you irrevocably constitute and appoint us to be your attorney-in-
fact to perfect our lien with regard to the Collateral and to do such other acts as necessary or convenient thereto.

By signing below you agree, jointly and severally, to the terms and conditions set forth on the face and reverse of this
document and acknowledge receipt of a fully completed copy.

NOTICE TO BORROWER(S): DO NOT SIGN THIS LOAN DISCLOSURE, NOTE, AND SECURITY AGREEMENT BEFORE YOU
READ IT (FRONT AND BACK) OR IF IT CONTAINS ANY BLANK SPACES. YOU ARE ENTITLED TO AN EXACT COPY OF THE
DOCUMENT YOU SIGN. THIS LOAN IS MADE UNDER THE AUTHORITY OF O.R.C. 1321.51 TO 1321.60.



________________________________________________________                                   ________________________________________________________
SIGNATURE OF BORROWER                                                                      SIGNATURE OF CO-BORROWER
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                                                 ADDITIONAL TERMS AND CONDITIONS
                                                                   (Continued from front page)

USURY: The interest rate and other charges on this loan will never                        We will not be liable for the dishonor of any check when the
exceed the highest rate or charge allowed by applicable law for this                 dishonor occurs because we set off this debt against any of your
loan.                                                                                accounts. You agree to hold us harmless from any such claims arising
POST-MATURITY INTEREST: Interest will accrue on the principal                        as a result of our exercise of our right of set-off.
balance remaining unpaid after final maturity at the Contract Rate of                OTHER SECURITY: Any present or future agreement securing any
Interest specified on the front page hereof. For purposes of this                    other debt you owe us also will secure the payment of this loan.
section, final maturity occurs:                                                      Property securing another debt will not secure this loan if such property
 (a)     If the note is payable on demand, on the date we make demand                is your principal dwelling and we fail to provide any required notice of
         for payment;                                                                right of rescission.
 (b)     If the note is payable on demand with alternative payment                   OBLIGATIONS INDEPENDENT: You understand that your obligation
         date(s), on the date we make demand for payment or on the                   to pay this loan is independent of the obligation of any other person
         final alternative payment date, whichever is earlier;                       who has also agreed to pay it. We may, without notice, release you or
 (c)     On the date of the last scheduled payment of principal; or                  any of you, give up any right we may have against any of you, extend
 (d)     On the date we accelerate the due date of this loan (demand                 new credit to any of you, or renew or change this note one or more
         immediate payment).                                                         times and for any term, and you will still be obligated to pay this loan.
REAL ESTATE OR RESIDENCE SECURITY: If this loan is secured                           We may, without notice, fail to perfect our security interest in, impair, or
by real estate or a residence which is personal property, the existence              release any security and you will still be obligated to pay this loan.
of a default and our remedies for such a default will be determined by               WAIVER: You waive (to the extent permitted by law) demand,
applicable law, by the terms of any separate instrument creating the                 presentment, protest, notice of dishonor and notice of protest.
security interest and, to the extent not prohibited by law and not                   PRIVACY: You agree that from time to time we may receive credit
contrary to the terms of any such separate instrument creating the                   information about you from others, including other lenders and credit
security interest, by this agreement.                                                reporting agencies. You agree that we may furnish on a regular basis
DEFAULT: Subject to any limitations in the “REAL ESTATE OR                           credit and experience Information regarding your loan to others
RESIDENCE SECURITY” paragraph above, you will be in default on                       seeking such information. To the extent permitted by law, you agree
this loan and any agreement securing this loan if any one or more of                 that we will not be liable for any claim arising from the use of
the following occurs:                                                                information provided to us by others or for providing such Information
 (a)     You fail to make a payment in full when due;                                to others.
 (b)     You die, are declared incompetent, or become insolvent;                     FINANCIAL STATEMENTS: You will give us any financial statements
 (c)     You fail to keep any promise you have made in connection with               or information that we feel is necessary. All financial statements and
         this loan;                                                                  information you give us will be correct and complete.
 (d)     You make any written statement or provide any financial                     PURCHASE MONEY LOAN: If this is a Purchase Money Loan, we
         information that is untrue or inaccurate at the time it is provided;        may include the name of the seller on the check or draft for this loan.
 (e)     The Collateral securing the loan is damaged, destroyed, seized              Purchase Money Loan means any loan the proceeds of which, in
         or stolen;                                                                  whole or in part, are used to acquire any property securing the loan
 (f)     You fail to provided any additional security we may require; or             and all extensions, renewals, consolidations and refinancings of such
 (g)     Anything else happens that causes us to believe we will have a              loan.
         difficult time collecting the amount you owe us.                            SECURED OBLIGATIONS:                 This agreement secures this loan
     If any of you are in default on this note or any security agreement,            (including all extensions, renewals, refinancings and modifications) and
we may exercise our remedies against any or all of you.                              any other debt you have with us now or later. Collateral described in
REMEDIES: Subject to any limitation in the “REAL ESTATE OR                           this agreement will not secure other such debts if we fail to give any
RESIDENCE SECURITY” paragraph above, if you are in default on                        required notice of the right of rescission with respect to the Collateral.
this loan or any agreement securing this loan, we may:                               Also, this agreement will not secure other debts if this security interest
 (a)     Cause unpaid principal, earned interest and all other agreed                is in household goods and the other debt is a consumer loan. This
         charges you owe us under the loan to be immediately due;                    agreement will last until it is discharged in writing.
 (b)     Use the right of set-off as explained below;                                OWNERSHIP AND DUTIES TOWARD PROPERTY: Unless a co-
 (c)     Demand more security or new parties obligated to pay this loan              owner(s) of the Collateral signed a third party agreement, you
         (or both) in return for not using any other remedy;                         represent that you own all the Collateral. You will defend the Collateral
 (d)     Make a claim for any and all insurance benefits or refunds that             against any other claim. You agree to do whatever we require to
         may be available on your default;                                           perfect our interest and keep our priority. You will not do anything to
 (e)     Pay taxes or other charges, or purchase any required                        harm our position.
         insurance, if you fail to do these things (but we are not required               You will keep the Collateral in your possession (except if pledged
         to do so). We may add the amount we pay to this loan and                    and delivered to us). You will keep it at your address unless we agree
         accrue interest on that amount at the interest rate disclosed on            otherwise in writing.
         page 1 until paid in full:                                                       You will not try to sell or transfer the Collateral, or permit the
 (f)     Require you to gather the Collateral and any related records                Collateral to become attached to any real estate, without our written
         and make it available to us in a reasonable fashion;                        consent. You will pay all taxes and charges on the Collateral as they
 (g)     Take immediate possession of the Collateral, but in doing so we             become due. You will inform us of any loss or damage to the
         may not breach the peace or unlawfully enter onto your                      Collateral. We have the right of reasonable access in order to inspect
         premises. We may sell, lease or dispose of the Collateral as                the Collateral. If the Collateral is a motor vehicle, you represent that it
         provided by law. (If the Collateral includes a manufactured                 is not a vehicle seized pursuant to any federal, state or local forfeiture
         home, we will begin the repossession by giving you an                       law.
         opportunity to cure your default, as required by law.) We may               INSURANCE: You agree to buy insurance on the Collateral against
         apply what we receive from the sale of the Collateral to our                the risks and for the amounts we require from a provider reasonably
         expenses and then to the debt. If what we receive from the                  acceptable to us. You will name us as loss payee on any such policy.
         sale of the Collateral is less than what you owe us, we may take            You will keep the insurance until all debts secured by this agreement
         you to court to recover the difference; and                                 are paid. We may require added security on this loan if we agree that
 (h)     Use any remedy we have under applicable state or federal law.               insurance proceeds may be used to repair or replace the Collateral.
     You agree that when we must give notice to you of our intended                  You agree that if the insurance proceeds do not cover the amounts you
sale or disposition of the Collateral, the notice is reasonable if it is sent        still owe us, you will pay the difference.
to you at your last known address by first class mail 10 days before the             FILING: A copy of this agreement may be used as a financing
intended sale or disposition. You agree to inform us in writing of any               statement when allowed by law.
change in your address.                                                              ASSUMPTIONS: This security agreement and any loan it secures
     By choosing any one or more of these remedies we do not give up                 cannot be assumed by someone buying the Collateral from you. This
our right to use another remedy later. By deciding not to use any                    will be true unless we agree in writing to the contrary. Without such an
remedy should you be in default, we do not give up our right to                      agreement, if you try to transfer any interest in the Collateral, you will
consider the event a default if it happens again.                                    be in default on all obligations that are secured by this security
     If any of you are in default on this note or any security agreement,            agreement.
we may exercise our remedies against any or all of you.
COSTS OF COLLECTION: You agree to pay us all costs and
disbursements to which we may become entitled by law in connection                       The following notice applies only if the proceeds of this loan have
with any suit to collect this loan or any lawful activity to realize on any          been applied in whole or substantial part to the purchase of goods
security after default. This provision also shall apply if you file a                and/or services from a person who, in the ordinary course of business
petition or any other claim for relief under any bankruptcy rule or law of           sells goods and/or services to consumers, and Borrower has been
the United States, or if another files such petition or other claim for              referred to the Lender by the Seller, or Lender is affiliated with the
relief against you.                                                                  Seller by common control, contract, or business arrangement.
SET-OFF: You agree that we may set off any amount due and                                NOTICE: ANY HOLDER OF THIS CONSUMER CREDIT
payable under this note against any right you have to receive money                  CONTRACT IS SUBJECT TO ALL CLAIMS AND DEFENSES
from us. “Right to receive money from us” means:                                     WHICH THE DEBTOR COULD ASSERT AGAINST THE SELLER OF
 (a)     Any deposit account balance you have with us;                               GOODS OR SERVICES OBTAINED WITH THE PROCEEDS
 (b)     Any money owed to you on an item presented to us or in our                  HEREOF. RECOVERY HEREUNDER BY THE DEBTOR SHALL
         possession for collection or exchange; and                                  NOT EXCEED AMOUNTS PAID BY THE DEBTOR HEREUNDER.
 (c)     Any repurchase agreement or other non-deposit obligation.
     “Any amount due and payable under this note” means the total
amount of which we are entitled to demand payment under the terms
of this note at the time we set off. This total includes any balance the
due date for which we properly accelerate under this note.
     If your right to receive money from us is also owned by someone
who has not agreed to pay this note, our right of set-off applies to your
interest in the obligation and to any other amounts you could withdraw
on your sole request or endorsement. Our right of set-off does not
apply to an account or other obligation where your rights arise only in a
representative capacity. It also does not apply to any Individual
Retirement Account or other tax-deferred retirement account.
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           Stop Costly, Full-Balance Reaffirmations Now!


                                       Problem

   Your clients may owe far more on their car than it’s really worth. They want to keep
   their car – they need it.
   Typically, lenders do allow reaffirmations, but demand and impose full payment on
   the current loan.
   This leaves your clients with very few options:
   A) They can reaffirm and continue making high monthly payments until the loan is
       paid in full. (Additionally, the Bankruptcy Reform Act of 2005 holds YOU
       accountable if this is not the best choice for your clients) -OR-
   B) Surrender their vehicle, leaving them with no means of transportation and making
       a fresh start virtually impossible.
   Very rarely are either of these the best choice for your clients.


                                       Solutions

1. Redemptions
      Working with you, your client and the existing automobile creditor, our
      redemption program allows you to take advantage of a better choice.
      Our Redemption Program allows your client the opportunity to keep his or her car
      by paying the fair market value to the creditor – not the amount owed.
      This creates a winning situation for you and your clients:
      A) You win by mitigating liability, increasing revenue (through attorney fees
          your client may borrow as part of the loan), and improving customer
          satisfaction.
      B) Your client wins with lower payments, equaled or fewer payments and a fresh
          start with a major, national bank.
      There is no cost or obligation for us to put together a savings analysis for your
      review.

2. Replacements
      If a redemption loan does not work for any reason, our Wholesale Replacement
      Program can help your client locate a late-model, low-mileage vehicle at or near
      the wholesale – not retail – price while inside bankruptcy.
      This saves your client from the post discharge buy-here, pay-here scenarios – or
      even worse – paying full retail on a car from a predatory dealership.
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                                        Process


1. Redemption Program
      Simply have your client apply by filling out a quick and easy application either
      online at www.722redemption.com - or – over the phone at 888-278-6121.
      We will negotiate a settlement directly with the current creditor – or – send you
      everything you need to file a motion to redeem, complete with supporting
      documentation.
      You forward us a copy of the court’s order granting redemption and we will
      handle the closing of your client’s new loan with

2. Wholesale Replacement Program
      Simply have your client apply by filling out a quick and easy application either
      online at www.722redemption.com - or – over the phone at 888-278-6121.
      If approved, we will help immediately your clients locate a vehicle at an
      affordable payment.
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                                            U.S. BANKRUPTCY COURT
                          _______________ DISTRICT OF _______________
In Re:                                                       :          Case No. _____________ ________

Debtor (s) __________________________________                :           Chapter 7 (Judge _______________________ )

Creditor (s                                                      :       MOTION FOR AUTHORITY TO REDEEM
Address ___________________________________                      :       PERSONAL PROPERTY AND APPROVAL
          ___________________________________                            OF ASSOCIATED FINANCING AND
          ___________________________________                    :       ATTORNEY FEES UNDER 11 U.S.C. 722

Now come (s) the Debtor (s) by and through counsel, and moves the court pursuant to 11 U.S.C. 722 and
Bankruptcy Rule 6008 for a Redemption Order on the following grounds:

1.   The item to be redeemed is tangible personal property intended primarily for personal, family or household use
     is more particularly described as follows:

     Year _________                      Make ________________                   Model____________________

                              VIN # __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __

2.   The interest of the Debtor (s) in such property is exempt or has been abandoned by the estate and the debt
     (which is secured by said property to the extent of the allowed secured claim of the Creditor) is a dischargeable
     consumer debt.

3.
     determined to be not more than $____________ as evidenced by the attached written appraisal.

4.   Arrangements have been made by the Debtor (s) to pay to the said Creditor up to the aforesaid amount in a
     lump sum should this motion be granted.

5.   The payment for this proposed redemption is to be financed through                                 , with all of the
     particulars of that financing (interest rate, finance charge, amount financed, total of payments, amount of
     payments, etc.) set forth in full detail in the attachment(s) hereto. As demonstrated there, the monthly amount,
     term of the payments and the overall amount of the repayment will be decreased significantly through the
     proposed redemption. Moreover, the Debtor has agreed to borrow and disperse additional funds in the amount
     of $__________, from their loan with                                , for representation of the debtor(s) in securing
     for the benefit of the debtor(s) an order granting the debtor(s) the right to redeem under 11 U.S.C. 722 a certain
     motor vehicle, such compensation being in addition to that previously disclosed and being for services
     rendered beyond the scope of the legal services to have been rendered for such compensation heretofore
     disclosed.
WHEREFORE, the Debtor (s) request (s) the Court to order the said Creditor to accept from the Debtor (s) the
lump sum payment of the redemption value and release their lien of record. In the event the said Creditor objects to
this motion, the Debtor (s) requests the Court to determine the value of the property as of the time of the hearing on
such objection.
                                                               __________________________________
                                                               Attorney for Debtor (s)

                                                      NOTICE
Notice is hereby given that unless an objection is made to this motion within 21 days following the date of service
below, an order sustaining the motion may be granted by the Court.


                                           CERTIFICATE OF SERVICE

Chapter 7 Trustee by mailing a copy hereof by first class U.S. Mail on this _______ day of _________________,
20_____.

                                                                 __________________________________
                                                                 Attorney for Debtor (s)
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                             U.S. BANKRUPTCY COURT
                    _______________ DISTRICT OF _______________
In Re:                                                :       Case No. ________________

Debtor (s) _________________________                  :       Chapter 7 (Judge ____________________ )

                                                      :
                                                            ORDER GRANTING REDEMPTION AND
                                                            APPROVAL OF ASSOCIATED
                                                            FINANCING AND ATTORNEY FEES.

                                                  :
Upon the motion of the Debtor (s) and there having been no responsive filing or objection within the time
required, the Court finds as follows:

1.   The tangible personal property described below is intended primarily for personal, family or
     household use of the debtor (s):

         Year ___________              Make ______________                Model ______________

                        VIN # __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __

2.   The debt owing the Creditor is a dischargeable consumer debt and the Debtor (s) interest in such
     property is exempt or has been abandoned by the estate.

3.   The value of the secured claim of the
     $______________ .

IT HEREBY ORDERED,

1. That the Debtor (s) may redeem the subject property by paying to the Creditor on or before the thirtieth
   (30th) day following entry of this Order the redemption amount.
2. Reasonable attorney fees and financing are approved under the terms and conditions set forth herein.
3. Upon timely receipt of such payment, the Creditor is ordered to cancel its lien of record and surrender
   the certificate of title in accord with the Debtor instruction.
4. In the event of the failure of the Creditor to so cancel its lien within three (3) days after payment of the
   aforesaid lump sum pursuant to the entry of this Order, then this Order shall serve as an authorization

   same of record.
5. In the event of the failure of the Debtor (s) to pay the redemption amount within such time frame, the
   automatic stay shall immediately terminate.

SO ORDERED this ________ day of _________________, 20_____ .


                                                          ______________________________
                                                          Bankruptcy Judge
Copies to:
Creditor
U.S. Trustee
Chapter 7 Trustee
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                             U.S. BANKRUPTCY COURT
                    _______________ DISTRICT OF _______________
In Re:                                               :       Case No. ________________

Debtor (s) _________________________                 :       Chapter 7 (Judge ____________________ )

                                                     :
                                                           AGREED ORDER OF REDEMPTION

                                                     :

Upon the motion of the Debtor (s) and agreement by the affected creditor signing below, the Court finds
as follows:

1.   The tangible personal property described below is intended primarily for personal, family or
     household use of the debtor (s):

         Year ___________             Make ______________                Model ______________

                        VIN # __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __

2.   The debt owing the Creditor is a dischargeable consumer debt and the Debtor (s) interest in such
     Property is exempt or has been abandoned by the estate.

3.
     $______________ .

IT HEREBY ORDERED, that the Debtor (s) may redeem the subject property by paying to the Creditor
on or before the thirtieth (30th) day following entry of this Order the redemption amount. Upon timely
receipt of such payment, the Creditor is ordered to cancel its lien of record and surrender the certificate of
title in accord with the Debtor instruction. In the event of the failure of the Debtor (s) to pay the
redemption amount within such time frame, the automatic stay shall immediately terminate.

SO ORDERED this ________ day of _________________, 20_____ .


                                                         ______________________________
                                                         Bankruptcy Judge

Agreed:

__________________________
Creditor or its Attorney

__________________________
Attorney for Debtor (s)

Copies to:

U.S. Trustee
Chapter 7 Trustee
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                                   See In Re: Morales
In Re: Oritz


                                            In Re: Morales




                                                                          Id.




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